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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION

                                                IN ADMIRALTY

 ___________________________________
 GREAT WHITE FLEET LTD.

                  Plaintiff,

                  Vs                                             Case No: 0:19cv62458

 M/V WARNOW WHALE, her engines, tackle,
 etc., in rem and PRINCESIA SHIPPING
 COMPANY LIMITED, in personam,

             Defendants.
 ____________________________________


             VERIFIED ADMIRALTY COMPLAINT FOR ARREST OF VESSEL
               AND FOR MARITIME ATTACHMENT AND GARNISHMENT

        Plaintiff, by and through its attorneys Tomaselli & Co. and Casey & Barnett LLC, hereby

 brings the following Verified Complaint in Admiralty pursuant to Fed. R. Civ. P. 15(a)(1)(A),

 and alleges upon information and belief, as follows:

                                                      JURISDICTION

        1.        This case of Admiralty and Maritime Jurisdiction is within the meaning of 28

 United States Code §1333 and is an admiralty and maritime claim within the meaning of Rule

 9(h) of the Federal Rules of Civil Procedure.

        2.        Venue is proper in this Court because the Property and the Vessel is or will be

 within this District during the pendency of this action.




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                                                  THE PARTIES

        3.        At all times material to this action, plaintiff, Great White Fleet, Ltd. (also referred

 to as “GWF”) was a corporation with an office and place of business located at Claredon House,

 2 Church Street, Hamilton, Bermuda, and was the time charterer of the M/V WARNOW WHALE,

 as more fully described below.

        4.        At all times material to this action, defendant M/V WARNOW WHALE (also

 referred to as "the Vessel”), was and is an ocean-going container vessel built in 2007, Cyprus

 flagged, call sign 5BXD3, 166 meters LOA, 15,375 GT, IMO number 9395032, and owned and

 operated by Princesia Shipping Company Limited, as more specifically described below, and

 was the vessel that was the subject of a time charter party between Princesia Shipping Company

 Limited and GWF.

        5.        At all material times, defendant Princesia Shipping Company Limited, (also

 referred to as "Princesia”) was and is a corporation with an office and/or place of business

 located at c/o GB Shipping & Chartering GmbH & Co KG, Am Nesseufer 30, 26789 Leer

 (Ostfriesland), Germany, was and is the registered owner and/or operator of the M/V WARNOW

 WHALE and entered into a charter party with GWF to time charter the Vessel to GWF.

        6.        As set forth in the affidavit of John J. Tomaselli, Esq., submitted herewith,

 Princesia Shipping Company Limited is not found within this District within the meaning of

 Supplemental Rule B.

                                                       FACTS

        7.        Plaintiffs repeat, reiterate and reallege each and every allegation set forth in


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 paragraphs 1 through 6, inclusive, as if herein set forth at length.

        8.        On May 18, 2018, GWF as charterer, and Princesia, as owner, entered into a

 charter party (hereinafter "charter” or “contract”) for the use of the M/V WARNOW WHALE for a

 period of approximately 19 months commencing on or about May 24, 2018. This charter was a

 maritime contract.

        9.        The parties’ intent was to have the vessel provide a “feeder service” by regularly

 moving Chiquita bananas in containers between various countries in Central America so that the

 containers of fruit would be transshipped on larger vessels destined to the United States.

        10.       Due to the perishable nature of the fruit the parties understood that time was of

 the essence and therefore incorporated it into the contract. The parties understood that it was

 essential that the vessel with her containers arrive in sufficient time at the transshipment port so

 that the containers of fresh fruit could be loaded onto vessels with strict schedules destined to

 markets in the United States.

        11,       The charter contract between the parties described the M/V WARNOW WHALE as

 being able to proceed at 19 knots.

        12,       Soon after the M/V WARNOW WHALE was on charter to GWF, it loaded a

 complement of containers and GWF requested the master of the vessel to proceed at full speed.

        13.       The vessel was unable to proceed at 19 knots. During the entire period the vessel

 was on charter to GWF it was unable to perform as warranted. The vessel was woefully

 deficient with respect to its speed- traveling at times between 12.5 and 17.5 knots.

        14.       As a result, the vessel consistently arrived late and missed transshipment times.

        15.       The vessel was not described properly and/or was purposefully mis-described in


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 the charter in order to have GWF charter the vessel.

        16.       GWF relied on the description of the vessel and relied that it could perform as

 warranted and described and on that good faith basis chartered the vessel.

        17.       As a result of the vessel’s lack of performance the vessel was returned to in

 personam defendants and redelivered on or about July 5, 2018. The vessel was replaced by the

 M/V AS FEDERICA.

        18.       By reason of the foregoing, plaintiff has sustained losses which will be shown

 with specificity at trial, no part of which has been paid, although duly demanded, which are

 presently estimated to be extra fuel consumption of $11,630.56; time lost $56,925; extra port call

 in Moin, Costa Rica of $8,140; extra survey charges of $1,850, $116,300 for payment of freight

 to third parties because of the late arrival of the M/V WARNOW WHALE in weeks 22-23 and

 $410,510 in payment of freight to third parties in week 25.

        19.       GWF paid freight to third parties because the transshipment was missed due to the

 lack of performance of the M/V WARNOW WHALE. If GWF did not to pay for outside freight

 its damages would have been greater because fruit would have been lost and damaged.

        20.       The lack of performance by the vessel was a material breach of the charter and

 resulted in damages to GWF.

        21.       As a direct and proximate result of said breach of maritime contract by Defendant,

 the Plaintiff has suffered damages presently estimated to be no less than $605,355.56.

        22.       An arbitration between GWF and Princesia was commenced in New York to

 resolve the dispute.

        23.       By reason of the foregoing, plaintiff has sustained losses pursuant to the breach of


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 the charter party by defendants which qualify as a maritime lien against the Vessel.



                    BREACH OF CONTRACT, ATTACHMENT and ARREST

         24.      Plaintiffs repeat, reiterate and reallege each and every allegation set forth in

 paragraphs 1 through 23, inclusive, as if herein set forth at length.

         25.      The damages sustained by plaintiff did not result from any act or omission on the

 part of the plaintiff, or its assured, but, to the contrary, proximately resulted from the in

 personam defendants' acts and/or omissions constituting breach of contract. In addition, the loss

 proximately resulted from the unseaworthiness of the in rem defendant, M/V WARNOW WHALE.

         26.      As a result of the foregoing, plaintiff has sustained damages in the amount of

 $605,355.56, or as near thereto as currently can be determined, plus expenses, no part of which

 has been paid, although duly demanded.

         27.      In accordance with the terms and conditions of the aforementioned charter party

 referred to therein, Plaintiff imitated an arbitration proceeding against Princesia in New York to

 obtain an arbitration award for damages sustained herein.

         28.      Defendant Princesia Shipping Company Limited cannot be found within this

 District within the meaning of Rule B of the Supplemental Rules for Certain Admiralty and

 Maritime Claims of the Federal Rules of Civil Procedure, but, upon information and belief, the

 Defendant currently has, or will have during the pendency of this action, assets within this

 District subject to the jurisdiction of this Court.

         29.      Specifically, the M/V WARNOW WHALE, an ocean vessel owned by Defendant

 Princesia is currently within the confines of the District or will be during the pendency of this


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 action.

           30.     The Plaintiff seeks an Order from this Court directing the Clerk of the Court to

 issue Process of Maritime Attachment and Garnishment pursuant to Rule B of the Supplemental

 Rules for certain Admiralty and Maritime claims, attaching the M/V WARNOW WHALE for the

 purpose of obtaining personal jurisdiction over in personam defendant, Princesia Shipping

 Company Limited, and to secure Plaintiff’s claim for breach of contract, in the amount of

 $605,355.56.

 31.       Plaintiff also seeks an order from this Court directing that a warrant of arrest be issued as

 against the M/V WARNOW WHALE in rem to obtain security for its maritime lien arising out of

 the breach of a maritime contract in the amount of $605,355.56.



 WHEREFORE, Plaintiff prays:

           A.      That since in personam Defendant Princesia Shipping Company Limited cannot

 be found within this District pursuant to Rule B of the Supplemental Rules for Certain Admiralty

 and Maritime Claims, this Court issue an Order directing the Clerk of the Court to issue Process

 of Maritime Attachment and garnishment pursuant to Rule B of the Supplemental Rules for

 Certain Admiralty and Maritime Claims, attaching the M/V WARNOW WHALE, its engines

 tackle and apparel, for amounts due and owing to the Plaintiff in the amount of $605,355.56 to

 secure the plaintiff’s claims, and that all persons claiming any interest in the same be cited to

 appear and pursuant to Supplemental Admiralty Rule B answer the matters alleged in the

 Complaint;

           B.      That a warrant of arrest in due form of law according to the practice of this


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 Honorable Court in cases within the admiralty and maritime jurisdiction be issued against the

 M/V WARNOW WHALE, her engines, boilers, tackle, etc. as provided in Rule C of the

 Supplemental Rules for Certain Admiralty and Maritime Claims of the Federal Rules of Civil

 Procedure to enforce plaintiff's claims against the M/V WARNOW WHALE in rem, and that all

 person having an interest in and to said vessel be cited to appear and answer under oath all and

 singular the aforesaid;

           C.     That Plaintiff has such other and further relief as the Court may deem just and

 proper.



                                                       TOMASELLI & CO.



                                              By:      /s/ John J. Tomaselli
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                                                       and

                                                       CASEY & BARNETT, LLC


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                                                       Attorneys for Plaintiff Great White Fleet, Ltd.



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                                                VERIFICATION


        This 2d day of October 2019 I, John J. Tomaselli, declare under penalty of perjury and
 pursuant to the laws of the United States that:


 1.     I personally prepared the foregoing Verified Complaint and state that the contents thereof
 are true to the best of my knowledge based upon information and documentation supplied to me
 by the plaintiff, Great White Fleet Ltd., by and through its New York counsel, Messrs. Casey &
 Barnett LLC. No officer of the plaintiff is available to verify this pleading because of the
 exigencies of obtaining the relief requested given the ship’s sailing schedule and the location of
 all officers of the plaintiff in Germany.


 2.     I have been authorized to sign this Verification on behalf of Plaintiff Great White Fleet
 Ltd. by its counsel, Casey & Barnett.


 3.     Pursuant to 28 U.S.C. §1746 I declare that the foregoing is true.


 State of Florida                                      s/s John J. Tomaselli
 County of Broward                                     John J. Tomaselli




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